Case 1:19-mc-00145-TSC Document 123 Filed 07/01/20 Page 1of11

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

In the Matter of the Federal Bureau of Prisons’
Execution Protocol Cases,

LEAD CASE: Roane et al. v. Barr
THIS DOCUMENT RELATES TO: Case No. 19-mc-0145 (TSC)
Lee v. Barr, No. 19-cv-2559

Purkey v. Barr, No. 19-cv-3214

Nelson v. Barr, et al., 20-cv-557

SUPPLEMENTAL EXPERT DECLARATION OF GAIL A. VAN NORMAN, M.D.

Pursuant to 28 U.S.C. § 1746, Gail Van Norman, M.D. declares as follows

I. Introduction

1. On November 1, 2019, I provided Plaintiffs’ counsel with my opinions regarding
the Federal Execution Protocol in a declaration that included detailed discussion and cited
evidence. Counsel for Plaintiffs provided me with aresponsive declaration by Joseph F. Antognini,
M.D., and asked me to respond to his declaration by addressing (1) whether flash pulmonary edema
observed in autopsy reports of executed prisoners occurred premortem or postmortem and (2) the
likelihood that prisoners facing execution by IV administration of 5 grams of pentobarbital would
be sensate to experience flash pulmonary edema and, if so, for what period of time.

2. In addition to the materials listed in my first declaration, I have reviewed and relied
upon the following materials in connection with this supplemental declaration:

e Declaration of Joseph F. Antognini M.D., MBA, signed June 25, 2020;
Case 1:19-mc-00145-TSC Document 123 Filed 07/01/20 Page 2 of 11

e Various authoritative textbooks, peer-reviewed articles, materials from
government regulatory agencies such as the FDA, and other publications and
materials as included in the references cited throughout this declaration.

If additional documents or materials are provided to me for specific review and analysis, or if I
become aware of further scientific or clinical evidence that impacts my opinions, or if in
attendance at hearings or trials in this case I learn of relevant evidence, I may choose to modify
these opinions accordingly. To aid counsel and the court, I will summarize my previous
conclusions in this declaration, in addition to addressing counsels’ questions.

Il. Summary of Opinions

3. Rapid injection of a massive dose of pentobarbital leads to rapid rise in peak brain
levels of the drug within about 2 minutes, followed by a rapid redistribution of the drug out of the
brain.

4, Human clinical cases have demonstrated that both massive overdoses of
pentobarbital, as well as smaller subanesthetic doses, cause flash pulmonary edema within seconds
of administration. Flash pulmonary edema occurs well before peak brain effects of the drug and
outlasts redistribution of the drug out of the brain.

5. Clinical evidence has found that 100% of prisoners for whom the medical examiner
examined the lungs at autopsy had pulmonary edema. Pulmonary edema in the prisoners occurred
premortem, as it requires pressure in the pulmonary capillaries (circulation) and/or continued
spontaneous respiratory efforts by a live person. Flash pulmonary edema is not a common
postmortem finding.

Il. Discussion
A. Pentobarbital

6. Pentobarbital is an ultra-short-acting barbiturate with a rapid onset of action when

administered intravenously, achievement of peak brain effects in approximately 2 minutes, and

2
Case 1:19-mc-00145-TSC Document 123 Filed 07/01/20 Page 3 of 11

rapid termination of action due to redistribution of the drug out of the brain within several minutes
of its injection into a vein.

7. The actions of pentobarbital on the human brain occur solely while the drug levels
in the brain persist. Once the drug is redistributed out of the brain, or below its therapeutic
threshold in the brain, it ceases to have clinical effects on the brain. Pentobarbital’s actions on the
brain are not limited to the brief sedation that occurs, but appear also to affect deep brain structures
such as the thalamus, which processes sensory input (stimuli) to the brain and selects responses.

8. A phenomenon called “cortico-thalamic connectivity” has to be intact for
consciousness, and studies indicate that barbiturates enhance cortico-thalamic activity, rather than
suppress it, while reducing responsiveness. A similar neurologic state caused by strokes, called the
“locked-in” syndrome leaves patients awake and aware, but unable to move or respond to what is
happening to them. Patients experiencing locked-in syndrome describe profound feelings of panic
and terror. A more detailed discussion of the brain effects of pentobarbital and other GABA-ergic

drugs on thalamic function and responsiveness can be found in my first declaration, along with

citations.
B. Consciousness vs. Responsiveness
9. Consciousness and unresponsiveness are distinct phenomena, although many

experts erroneously use them synonymously. Dr. Antognini uses these terms synonymously, and,
despite decades of evidence to the contrary, appears to believe that unresponsiveness accurately
predicts unconsciousness. This is a grave error. The idea that unresponsiveness indicates
unconsciousness was invalidated by research in consciousness approximately 30 years ago. But
throughout his report, Dr. Antognini insists that the unresponsiveness of the subjects is proof of
their “unconsciousness,” despite the fact that a large body of the anesthesia literature now

demonstrates that this assumption is simply untrue (please refer to my first declaration).

3
Case 1:19-mc-00145-TSC Document 123 Filed 07/01/20 Page 4 of 11

10. | Consciousness is the ability to perceive the individual’s self and environment and
to have a subjective experience of what is happening to the self. Responsiveness is the ability to
react physically to the experiences a person is having. Unresponsiveness is a failure to respond to
an event, whether due to choice, paralysis by a drug or physical injury, or due to chemical effects
in the brain that prevent coordinated responses to an experience even if muscles are not paralyzed.
Unresponsiveness neither requires nor indicates unconsciousness. They are two separate
characteristics.

11. While administration of pentobarbital (and thiopental) results in rapid
unresponsiveness, the human data regarding loss of consciousness (not loss of responsiveness) in
humans following pentobarbital intravenous injection show that consciousness persists in patients
who have received IV pentobarbital during anesthetics for prolonged periods of time, in one report
up to 12 minutes.

12. The studies that Dr. Antognini cites to support his contention that prisoners will be
unconscious throughout the execution examine only unresponsiveness. In fact, many even relied
on studies of “recall,” i.e. whether the patients remembered events. As we all know, not being able
to remember an event does not indicate that we didn’t experience it. See my first declaration for a
detailed discussion of these terms and citations to current research.

13. The initial, primary effect of barbiturates is unresponsiveness. Multiple studies
demonstrate that even high doses of many different classes of anesthetic drugs do not reliably
produce unconsciousness. Those studies include thiopental, which Dr. Antognini agrees is
equivalent to pentobarbital. Details of the molecular actions of pentobarbital, as well as clinical

studies showing retained consciousness with thiopental can be found in my first declaration.
Case 1:19-mc-00145-TSC Document 123 Filed 07/01/20 Page 5of11

14. | Methods of measuring consciousness that were used 30 years ago have been proven
to be unreliable, as our understanding of consciousness and unresponsiveness have evolved.
Currently, the only method that approaches reliability in determining consciousness during
administration of anesthetic drugs is the isolated forearm technique (IFT), described in my first
declaration, and even the IFT is known to miss some cases of consciousness. The IFT is now
considered the “gold standard” for testing consciousness during administration of drugs used
during anesthesia and for research on consciousness after administration of anesthetic drugs. No
other method of determining consciousness in a setting similar to anesthesia or lethal injection
has been shown to be accurate.

15. This includes methods that rely on EEG monitoring, since hundreds of studies,
some of which are detailed in my first declaration, have demonstrated unequivocally that the
various methods of EEG monitoring do not correspond to unconsciousness following the
administration of anesthetic drugs, either inhaled or injected intravenously. Disconnection of
consciousness and responsiveness occurs in patients both in and outside of anesthesia practice. In
a recent study, for example, 15% of patients who were judged to be comatose demonstrated a
dissociation between consciousness and the ability to move, called “cognitive-motor
dysfunction,”' meaning that although they were judged to be unconscious, sophisticated medical
testing found that they in fact were conscious. In another recent study of “unconscious” patients
in the intensive care unit, authors found that many patients were conscious, but that the ability to
detect consciousness with EEG versus functional MRI (fMRI--a method of imaging chemical
activity in localized parts of the brain), varied depending on what parameter was used: EEG was

less accurate than fMRI in detecting consciousness by language stimulus (verbal commands) and

' Claassen J, Doyle K, Matory A et al. Detection of brain activation in unresponsive patients with acute brain injury.
New EngJ Med 2019; 380:2497-505
Case 1:19-mc-00145-TSC Document 123 Filed 07/01/20 Page 6 of 11

motor imagery (asking the patient to visualize moving) than fMRI? underscoring the problem with
using EEG interpretation alone to determine unconsciousness. EEG monitoring during
cardiopulmonary resuscitation (during full cardiac arrest) has shown that the majority (80%) of
patients experience periods of EEG inactivity (burst suppression and voltage suppression),° yet a
multicenter study by a well-respected group has shown that a significant number of these patients
retain consciousness.’ In other words, EEG suppression does not guarantee unconsciousness in
humans. Studies to discover a monitor that can “capture” consciousness currently concentrate on
various forms of neuro imaging, such as {MRI or PET scanning, rather than EEG alone, which has
been shown to be unreliable in anesthetized patients.

16. Dr. Antognini ignores the considerable body of evidence that EEG monitoring is
not a reliable indicator of unconsciousness in humans (as cited in my first declaration) and instead
turns to a study of horses, an animal on which no consciousness studies have ever been performed.
Indeed, they would be difficult to carry out, since we can’t ask a horse to answer questions on an
IFT. Veterinarians generally rely on unresponsiveness as an “indicator” of unconsciousness,
because they simply have no other measure to follow, but Dr. Antognini equates unresponsiveness
with unconsciousness in his analysis of the study. He also cites another study using the point of
time when horses collapse to the ground after barbiturate induction, apparently unaware that the
“collapse to the ground” is an effect of barbiturate ablation of the muscular mechanism that allows
horses to stand while lightly asleep, called the “stay apparatus.” Horses can sleep standing up,

often with one hind foot “cocked” and non-weight bearing. This is due to special pulley and tendon

? Edlow BL, Chatelle C, Spencer CA, et al. Early detection of consciousness in patients with acute severe traumatic
brain injury. Brain 2017; 140:2399-2414

3 Reagan EM, Nguyen RT, Ravishankare ST, et al. Monitoring the relationship between changes in cerebral
oxygenation and electroencephalography patterns during cardiopulmonary resuscitation: a feasibility study. Crit
Care Med 2018; 46:757-63

4 Parnia S, Spearpoint K, de Vos G, et al. AWARE—AWaAreness during Resuscitation—a prospective study.
Resuscitation 2014; 85:1799-805.
Case 1:19-mc-00145-TSC Document 123 Filed 07/01/20 Page 7 of 11

arrangements in the musculature of their limbs that “lock” the animal upright even while they
snooze. Injection of barbiturates ablates the “stay apparatus” and the animal falls, but the fall
clearly precedes unresponsiveness, evidenced by the horses frequently struggling to keep their
heads upright as they go down.” Like Dr. Antognini, the authors of that study have mistaken
concepts of unconsciousness and unresponsiveness. In addition, different species have highly
variable responses to anesthetic drugs, and actions in one species cannot be extrapolated across all
species. The horse is not a species that is typically used to test drug actions or toxicity of anesthetics
for human use, and it is puzzling to see these references here, since they are irrelevant.

17. Consciousness is dependent on the strength of the stimulus—the stronger the
stimulus, the more likely that consciousness will be demonstrated. IFT studies demonstrate that a
majority of subjects who receive a sufficient stimulus under anesthesia will regain consciousness
and experience it. These studies include barbiturate anesthetics, in which large percentages of
patients were conscious (as measured by the IFT) to even relatively /ight stimuli while under full
general anesthesia. Studies indicate that intravenous anesthetic drugs are more likely to be
associated with consciousness/awareness than inhalational anesthetics. Pain and terror are both
possible and have been reported by patients who are demonstrated to be aware by IFT.

18. In Dr. Antognini’s declaration, he states that the IFT studies I cite used “light”
levels of anesthesia—another perplexing assertion. Many of these studies were carried out during
major gynecological procedures that require full general anesthesia. These were not “light”
anesthetics. And while he asserts that even larger doses of drug will overcome the problem of
consciousness that is demonstrated during general anesthesia, he has no study and no data to show

that this is the case. In fact, IFT responses have been shown with a wide variety of drugs and doses.

> In addition to the references regarding the “stay apparatus,” this expert is relying additionally on personal
experience with her own horses, as well as experience anesthetizing large animals at a major zoo.

7
Case 1:19-mc-00145-TSC Document 123 Filed 07/01/20 Page 8 of 11

C. Complications from IV Administration of Pentobarbital

19. Flash pulmonary edema is a significant complication of intravenous pentobarbital
injection that causes excruciating pain and suffering in persons who have experienced it and lived
to report it. Dr. Antognini makes several significant errors in discussing this complication. In the
first place, he states that pentobarbital injection is accompanied by onset of “unconsciousness”
within 20-30 seconds and cites a 1957 article by Dundee that in fact did not test consciousness in
any acceptable way (he had patients count backwards). Numerous studies show that these sorts of
measurements—counting, eyelash reflex, calling a name—do not accurately determine
consciousness (please see details in my first declaration).

20. ‘In a second error, Antognini states, “at this point pulmonary edema, if it occurs at
all would not set in because it would only result from a much larger dose.” Antognini Decl. at 48
(emphasis added). Dr. Antognini does not cite any evidence to support this statement, and he can’t
because it simply isn’t true. Flash pulmonary edema has been reported with doses as low a 325 mg
total of pentobarbital, as cited in my first declaration. In fact, flash pulmonary edema has been
reported with subanesthetic doses of the drug. Finally, his reference to “if it occurs at all” is
puzzling. In my first declaration I pointed out that 100% of prisoners in whom the lungs were
examined post mortem demonstrated pulmonary edema. It not only occurs, but occurs in virtually
all cases.

21. Dr. Antognini’s statement that the inmate would not feel pain or suffering because
he will be unconscious is refuted by the cases I cite in my first declaration that show that patients
remain conscious for a prolonged period of time following barbiturate injection, even when they
are unresponsive. There is no basis to claim that inmates will be unconscious when pulmonary

edema develops, because (1) flash pulmonary edema develops almost instantaneously, and (2)
Case 1:19-mc-00145-TSC Document 123 Filed 07/01/20 Page 9 of 11

studies of unconsciousness in patients anesthetized with barbiturates indicate that they remain
conscious for a significant period of time.

22. Unlike our understanding of consciousness and unresponsiveness, which has
evolved with recent studies and irrefutable data, flash pulmonary edema is a physical phenomenon
that has been well-known and well-described for decades, and medical literature has not uncovered
much that is new or different in describing it, detecting it or treating it. Flash pulmonary edema in
conjunction with injection of phenobarbital is believed to occur via three mechanisms: (1) the
caustic effect of the drug in the bloodstream causes immediate damage to the delicate capillaries
lining the air-exchanging spaces in the lungs, causing them to leak serum as pressure from the
bloodstream push fluid into the air spaces; (2) upper airway obstruction due to pentobarbital
sedation causes collapse of the upper airway, so that attempts to inhale are met with resistance,
and negative pressure rises in the airspaces of the lungs, sucking more fluid in from the capillaries;
and (3) the toxic effect of the barbiturate on the left heart causes it to fail, leading to an acute rise
in blood pressure within the leaking capillaries of the lungs, increasing the leakage of fluid into
the air spaces. Dr. Antognini admits in his declaration that upper airway obstruction with continued
respiratory effort occurs, but dismisses it as “normally occurring” during onset of
“unconsciousness,” again equating unconsciousness with unresponsiveness.

23. | The occurrence of flash pulmonary edema with barbiturate overdose is not
speculative, but has been well described in barbiturate overdoses. We now also know from autopsy
examinations of prisoners in which barbiturates are used alone or in combination with other drugs
during judicial lethal injection, that flash pulmonary edema is not just common in judicial
executions, but that all of the autopsies in which the medical examiner examined the lungs (and

this included the majority of autopsies) demonstrated that the prisoners had flash pulmonary
Case 1:19-mc-00145-TSC Document 123 Filed 07/01/20 Page 10 of 11

edema. We also know that this could not have occurred as a postmortem event, because flash
pulmonary edema requires a beating heart to produce the pressure in the capillaries, and is
facilitated by spontaneous attempts to breathe against an obstructed airway, which also requires a
living subject. Flash pulmonary edema is not a routine postmortem finding.

24. Furthermore, the clinical timing of flash pulmonary edema in living patients is well
known and can occur virtually instantaneously with injection of even much lower doses of
barbiturates, as demonstrated by the Potts study I referenced in my first declaration. I personally
have experience with flash pulmonary edema that developed after a single breath in a 15-year-old
patient during orthopedic surgery, necessitating placement of a breathing tube and transfer to the
intensive care unit. Respiratory distress occurred within seconds. The rapid onset of flash
pulmonary edema shows that onset of sensations of drowning will precede peak brain levels of the
barbiturate, which occur several minutes later.

25. Flash pulmonary edema increases the work of breathing, decreases blood oxygen
levels and causes sensory nerves in the lungs to transmit a sensation of profound shortness of
breath and suffocation to the brain, asking the brain to “breathe harder.” We know from
descriptions of surviving patients that the sensation is identical to that reported in near-drowning
and suffocation, one of the most excruciating feelings known to man, and one that is exploited for
interrogations during waterboarding, now defined by the European Court of Human Rights as a
form of torture. Please see my first declaration for references and a detailed description of the

drowning sensations.

10
Case 1:19-mc-00145-TSC Document 123 Filed 07/01/20 Page 11 of 11

IV. Conclusion

26. It is my conclusion, to a reasonable degree of medical certainty, that prisoners
executed by lethal injection in accordance with the Federal Protocol remain conscious and able
to experience extreme pain and suffering related to the caustic effects of pentobarbital and
occurrence of flash pulmonary edema.

I declare under penalty of perjury that the foregoing is true and correct.

Executed in Seattle, Washington on June 29, 2020.

but bf Ws To ML)

Gail A. Van Norman, M.D.

1]
